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                                                                         Laboratory monitoring of rivaroxaban and assessment of its bleeding risk


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                                                                         Keywords: rivaroxaban, monitoring, prothrombin time, inhibition of factor Xa activity,

                                                                         anti-factor Xa chromogenic assay, bleeding risk
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                                                                         Abstract


                                                                         Background: The aims of this study were to investigate the effects of rivaroxaban on

                                                                         routine coagulation assays using our local widely available reagents and to study the

                                                                         relationship between sensitive coagulation assays and bleeding risk caused by

                                                                         rivaroxaban.


                                                                         Methods: Prothrombin time (PT), activated partial thromboplastin time (APTT) and

                                                                         anti- factor Xa(FXa) chromogenic assays (Biophen DiXaI) and inhibition of FXa
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                                                                         activity were performed in normal pooled plasma (NPP) spiked with rivaroxaban and

                                                                         plasma samples from patients treated with rivaroxaban.


                                                                         Results: In vitro, the linear correlation coefficient of measured concentrations of

                                                                         rivaroxaban, by Biophen DiXaI, and spiked concentrations of rivaroxaban was 0.99. PT

                                                                         and APTT showed good linear correlation with rivaroxaban concentrations, while other

                                                                         assays showed poor correlation. In vivo, PT showed a moderate linear correlation with

                                                                         rivaroxaban concentrations while APTT had a weak correlation with rivaroxaban

                                                                         concentrations. In vitro and in vivo, the rivaroxaban concentrations, measured by

                                                                         Biophen DiXaI, always showed good correlation with the inhibition of FXa activity,

                                                                         and PT values showed moderate correlation with the inhibition of FXa activity.


                                                                         Conclusions: Biophen DiXaI can be considered as a quantitative method to monitor the

                                                                         anticoagulation activity of rivaroxaban, and could be used to evaluate bleeding risk

                                                                         caused by rivaroxaban. The PT reagent (Thrombosis S) could be considered as a rough

                                                                         method to monitor the anticoagulation activity of rivaroxaban and evaluate bleeding

                                                                         risk caused by rivaroxaban.
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                                                                         Introduction


                                                                         Rivaroxaban is an oral, direct factor Xa (FXa) inhibitor that has been approved in more than

                                                                         100 countries worldwide, for the prevention of venous thromboembolism (VTE) in adult

                                                                         patients after elective hip or knee replacement surgery. The absorption of rivaroxaban after

                                                                         oral intake is near 80%; Cmax is reached within 2-4 hours (h), and the half-life is between 7-11

                                                                         h in patients with normal renal and hepatic functions; After administration of 10 mg

                                                                         rivaroxaban, the peak plasma concentrations are in the range of 91to195 ng/ml (mean: 125
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                                                                         ng/ml) [1-4]. Due to predictable pharmacokinetics and pharmacodynamics, it is postulated

                                                                         that rivaroxaban can be administered at a fixed dose without routine coagulation monitoring.

                                                                         However, clinical surveillance is recommended in several clinical situations such as in

                                                                         patients with bleeding, deteriorating renal or hepatic functions, before urgent surgery or

                                                                         invasive procedure, and overdose [5]. Currently, there is no specific antidote is available for

                                                                         rivaroxaban in the clinical setting. So it is important that clinical laboratories rapidly measure

                                                                         the degree of anticoagulation and assess the risk of bleeding due to rivaroxaban.

                                                                         To date, most studies and guidelines have recommended that the anti- FXa chromogenic

                                                                         assays could be used as a quantitative method and prothrombin time (PT) could be used as a

                                                                         qualitative method to assess the anticoagulation activity of rivaroxaban [5-11]. However, the

                                                                         sensitivity of PT varies with different thromboplastin reagents and instruments used for

                                                                         assessment [12- 14]. Consequently, it is suggested that laboratories should be aware of the

                                                                         sensitivity of their own reagents in regards to rivaroxaban. In addition, the relationship

                                                                         between both assays and bleeding risk due to rivaroxaban has not been known well. As

                                                                         rivaroxaban is a direct FXa inhibitor, the measured inhibition of FXa activity may have a

                                                                         direct correlation with risk of bleeding, although the strength of this correlation is currently

                                                                         unknown [1㸪2㸪15].
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                                                                         The primary focus of the present study is to investigate the effects of rivaroxaban on routine

                                                                         coagulation assays using our local widely available reagents. The secondary focus of the

                                                                         study is to investigate the relationship between sensitive coagulation assays and inhibition of

                                                                         FXa activity to assess which assays have a stronger correlation with bleeding risk.



                                                                         Materials and methods


                                                                         This study was performed in accordance with the Declaration of Helsinki and was approved
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                                                                         by the Medical Ethnic Committee of the Fifth People’s Hospital of Shanghai, Fudan

                                                                         University, China. Written informed consent was obtained from each study participant.

                                                                         In vitro


                                                                         10 healthy individuals (5 males and 5 females, between the ages of 23 - 45) of our laboratory

                                                                         were included in this study. These subjects all had normal coagulation tests including PT,

                                                                         activated partial thromboplastin time (APTT), thrombin time (TT), and fibrinogen, no history

                                                                         of thromboembolic or hemorrhagic diseases, and no other disease that required the use of

                                                                         medications that could have a direct effect on the functions of platelet and/or coagulation

                                                                         factors during a two-week period prior to sampling. Blood was obtained via venepuncture,

                                                                         and collected into 0.109 M sodium citrate (9:1 v/v) tubes (BD, Plymouth, UK). Platelet-poor

                                                                         plasma (PPP) was obtained by centrifuging blood samples for 10 min at 3,000rmp at room

                                                                         temperature. PPPs from the 10 individuals were mixed to obtain the normal pooled plasma

                                                                         (NPP) immediately, which was frozen at –80°C without delay. Frozen NPP aliquots were

                                                                         thawed and heated at 37°C for 5 min just before experiment.

                                                                                The stock solution of rivaroxaban was obtained from Selleck (S3002) at a

                                                                         concentration of 4.36 mg/ml in 100% Dimethyl sulfoxide (DMSO). This stock solution was

                                                                         diluted in phosphate-buffered saline (PBS) without Mg2+ and Ca2+ in order to obtain
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                                                                         intermediate solutions at 5.45ȝg/ml, 2.18ȝg/ml, 1.09ȝg/ml and 0.545ȝg/ml [8]. Working

                                                                         solutions of 545ng/ml, 218ng/ml, 109ng/ml and 54.5ng/ml were obtained by mixing

                                                                         intermediate solutions with NPP. The DMSO concentration in plasma was ӊ 0.05% (v/v),

                                                                         which did not influence the coagulation [16].

                                                                         In clinical patients


                                                                                 Twenty-five patients were included in this study (9 males, 16 females; mean age, 77

                                                                         s11 years; median age, 79.5 years). Each patient was treated with 10 mg once daily for the
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                                                                         prevention of deep vein thromboembolism after elective hip or knee replacement surgery.

                                                                         Exclusion criteria were severe liver or renal dysfunction, coagulation disorders, malignancy,

                                                                         or receiving other anticoagulation drugs.

                                                                                 After receiving rivaroxaban for Ӌ 5 days, plasma samples were collected. Platelet-

                                                                         poor plasma (PPP) was obtained as described above for the healthy individuals. Each plasma

                                                                         sample was aliquot into tubes and PT, APTT, TT and fibrinogen were performed

                                                                         immediately. All other aliquots were immediately frozen at -80°C and heated to 37°C for 5

                                                                         min prior to testing for other assays.

                                                                         Coagulation assays


                                                                                 PT, APTT, TT and fibrinogen were performed in NPP samples spiked with

                                                                         rivaroxaban (rivaroxaban concentrations of 545ng/ml, 218ng/ml, 109ng/ml and 54.5ng/ml)

                                                                         and PPP samples from patients treated with rivaroxaban on a CS5100 automatic hemostasis

                                                                         analyzer (Sysmex Corporation, Kobe, Japan). These assays were performed using the

                                                                         reagents from Dade Behring (Thromborel SࠊActinࠊTest ThrombinReagent and Thrombin

                                                                         Reagent㸪respectively). Results of PT and APTT were reported in seconds and as ratios (vs.

                                                                         NPP).
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                                                                                Biophen DiXaI (Hyphen BioMed, Neuville-Sur-Oise, France) kit can be used for

                                                                         quantitative measurement the concentration of rivaroxaban on human citrated blood plasma.

                                                                         This assay is based on the inhibitory action of rivaroxaban on exogenous FXa which

                                                                         specifically cleaves para-nitroaniline (p-NA) linked to a chromogenic substrate. Then, pNA is

                                                                         released from the substrate and measured at 405 nm. The amount of pNA released is directly

                                                                         proportional to residual FXa activity. There is an inverse relationship between the

                                                                         concentration of rivaroxaban in the tested sample and colour development, measured at 405

                                                                         nm. Due to a high ionic strength pH 7.9 buffer, this test is specific for FXa direct inhibitors
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                                                                         (DiXaIs), without interference of indirect polysaccharide inhibitors [6].This assay was

                                                                         performed in citrated NPP samples spiked with rivaroxaban (rivaroxaban concentrations of

                                                                         545ng/ml, 218ng/ml, 109ng/ml and 54.5ng/ml) and PPP samples from patients treated with

                                                                         rivaroxaban on an ACL-TOP 700 coagulometer (Beckman Coulter, USA) using the Biophen

                                                                         Rivaroxaban Calibrator and Control (Hyphen BioMed, Neuville-Sur-Oise, France).

                                                                                The inhibition of FXa activity was determined using the Biophen Factor X assay

                                                                         (Hyphen BioMed, Neuville-Sur-Oise, France) according to kit instructions with minor

                                                                         adjustments [17]. This assay is based on activation of endogenous FX by Russell's viper

                                                                         venom (RVV), and then the specific chromogenic FXa substrate is cleaved by the residual

                                                                         FXa, releasing para-nitroaniline (pNA), which colour is measured at 405nm. There is a direct

                                                                         relationship between colour development and FX activity in the tested plasma. In this study,

                                                                         the system was calibrated in a ranging from 0 to 200% by using NPP, and was used to

                                                                         calculate FXa activities in percentage for each sample. In each sample, the inhibition of FXa

                                                                         activity was calculated as the percentage difference of the FXa activity in undiluted NPP

                                                                         samples (100% FXa activity) and the FXa activity measured for samples. The test was

                                                                         performed in citrated NPP samples spiked with rivaroxaban (rivaroxaban concentrations of

                                                                         545ng/ml, 218ng/ml, 109ng/ml and 54.5ng/ml) and PPP samples from patients treated with
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                                                                         rivaroxaban using manual protocols as follow. The plasma samples were diluted 1:10 in Tris-

                                                                         NaCl buffer. 50 ȝl of these mixtures were incubated for 2 min at 37°C. After the addition of

                                                                         50 ȝl of a solution of the chromogenic FXa substrate, the mixtures were incubated for an

                                                                         additional 2 min at 37°C. Then, 50 ȝl of a RVV solution was added and the reaction was

                                                                         terminated by introducing of 50 ȝl of acetic acid (20%) after 3 min. Finally, the UV

                                                                         absorptions were measured at 405 nm.

                                                                         Statistical analysis
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                                                                         Statistical and graphing analyses were performed using GraphPad Prism version 5.00

                                                                         (GraphPad Software, San Diego, CA, USA, https://www.graphpad.com) for Windows.

                                                                         Regression analyses were fitted using the least squares method and reported with the

                                                                         correlation coefficient (r2). Recovery was calculated as the (measured value/expected value)

                                                                         *100%. The D’Agostino–Pearson Omnibus K2 test was used to assess for normality. For all

                                                                         statistical tests, P-values <0.05 were considered to be statistically significant and degrees of

                                                                         freedom (DF) were reported when appropriate.



                                                                         Results

                                                                         Sensitive assays


                                                                                In vitro, the spiked plasma samples were tested four times over four days at each of

                                                                         four concentrations (545ng/ml, 218ng/ml, 109ng/ml and 54.5ng/ml). The linear correlation

                                                                         coefficient (r2) of measured concentrations of rivaroxaban, by Biophen DiXaI, and spiked

                                                                         concentrations of rivaroxaban was 0.99 (Fig. 1). The measured concentrations of rivaroxaban

                                                                         were reliable and within 20% (recovery range 83% to 119%) of the spiked concentrations. PT

                                                                         showed a high linear correlation with measured concentrations (Fig. 2a), and the correlation

                                                                         coefficient (r2) was 0.95. PT ratio showed a higher linear correlation coefficient (r2) of 0.98
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                                                                         (Fig. 2b). APTT showed a good linear correlation with measured concentrations (Fig. 2c),

                                                                         and the correlation coefficient (r2) was 0.87. APTT ratio also showed a higher linear

                                                                         correlation coefficient (r2) of 0.97(Fig. 2d). TT and fibrinogen values were not affected by

                                                                         rivaroxaban (Fig. 2e and Fig. 2f).

                                                                                In vivo, patient samples were obtained between 1 April 2015 and 30 November 2015.

                                                                         Each patient was collected two plasma samples at two different time points after receiving

                                                                         rivaroxaban. A total of fifty clinical samples, obtained from orthopaedic patients under

                                                                         prophylactic treatment with rivaroxaban 10 mg once daily, were tested. 18 samples were
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                                                                         obtained at the time of peak drug activity after drug administration (mean, 2.6 ± 0.6 h), 18

                                                                         samples were collected directly at 0-2 h before rivaroxaban dosing, and 14 samples were

                                                                         obtained at unfixed time points after drug administration. No thrombotic event or bleeding

                                                                         occurred during the study. PT and PT ratio showed a moderate linear correlation with

                                                                         rivaroxaban concentrations (Fig. 3a and Fig. 3b) and the correlation coefficient (r2) was 0.68

                                                                         and 0.73 respectively, while APTT and APTT ratio showed a poor correlation with

                                                                         rivaroxaban concentrations as shown in Fig. 3c and Fig. 3d. When rivaroxaban concentrations

                                                                         reached 101.7ng/ml, the PT value was above the upper limit of the normal range (normal

                                                                         range: 10.0-13.0 s)(Fig. 3a).



                                                                         Bleeding risk


                                                                                Inhibition of FXa activity showed a curvilinear correlation with rivaroxaban

                                                                         concentrations measured by Biophen DiXaI in vitro (Fig. 4a) with r2=0.99. PT showed a

                                                                         curvilinear correlation with inhibition of FXa activity (Fig. 4b) with r2=0.77. In vivo, the

                                                                         inhibition of FXa activity also had a curvilinear correlation with rivaroxaban concentrations

                                                                         measured by Biophen DiXaI (Fig. 5a) in vivo with r2=0.78. PT also showed a curvilinear

                                                                         correlation with inhibition of FXa activity (Fig. 5b) with r2=0.61.
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                                                                          Discussion

                                                                                 The gold standard for measuring the concentration of rivaroxaban is liquid

                                                                          chromatograph (LC)-mass spectrometry (MS) [18]. However, many clinical laboratories do

                                                                          not have access to LC-MS analysis, which makes this technique unsuitable for routine

                                                                          measurement of rivaroxaban. A number of studies have indicated that anti- FXa chromogenic

                                                                          assays are specific and sensitive measurement methods for direct FXa inhibitors [6-9].

                                                                          Recently, in vitro and in vivo, most studies have investigated the suitability of commercially

                                                                          available chromogenic anti-FXa assay Biophen DiXaI with rivaroxaban calibrators and
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                                                                          controls for determination of rivaroxaban plasma concentrations [6, 8]. The availability and

                                                                          methodology of this assay can be easier implemented in clinical laboratories, and it is in good

                                                                          agreement with LC-MS/MS measurements. Our study showed that rivaroxaban

                                                                          concentrations, measured by Biophen DiXaI, had a high linear correlation with spiked

                                                                          concentrations and the recovery was acceptable. Therefore, we suggest that Biophen DiXaI

                                                                          could be used to measure the plasma concentration of rivaroxaban.

                                                                                 The FX deficiency is defined that the FX plasma activity levels are as low as 6-10%

                                                                          of the normal range to be considered mild deficiency, and below 1% are considered to be

                                                                          severe deficiency [19-20]. The FX plasma activity levels above 20% are rarely associated

                                                                          with bleeding, while patients with the FX plasma activity levels < 10% present with

                                                                          mucocutaneous bleeding and patients with levels < 5% may have symptoms including

                                                                          hemarthrosis, intracranial hemorrhage, and gastrointestinal bleeding. Sae Heum Song et al

                                                                          [15] reported the duration of time that the intrinsic FXa activity was suppressed to 15% (the

                                                                          inhibition of FXa activity= 85%) of normal or lower by edoxaban (another FXa inhibitor)

                                                                          was the most significant predictor for the observed bleeding risk. This implied there was a

                                                                          threshold for the inhibition of FXa relative to bleeding risk. Therefore, the inhibition of FXa
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                                                                          activity above a limiting value may result in excessive bleeding. So in this study, the

                                                                          inhibition of FXa activity could be considered as a predictor for risk of bleeding.

                                                                                 In vitro, PT and APTT showed good correlation with rivaroxaban concentrations.

                                                                          However, in vivo, PT showed a moderate linear correlation with rivaroxaban concentrations,

                                                                          while APTT showed a poor correlation with rivaroxaban concentrations. In vitro and in vivo,

                                                                          PT showed a moderate correlation with the inhibition of FXa activity. When the inhibition of

                                                                          FXa activity reached 85%, the PT value was 15.6s (90% confidence intervals =13.01s to

                                                                          18.82s) approximately in vivo. Consequently, the PT reagent (Thrombosis S) may also
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                                                                          provide relevant information about cases of bleeding in clinical, and could be considered as a

                                                                          rough method to monitor the anticoagulation activity of rivaroxaban and evaluate bleeding

                                                                          risk caused by rivaroxaban.

                                                                                 In spiked plasma and patient’s plasma, the rivaroxaban concentrations measured by

                                                                          Biophen DiXaI always showed a good correlation with the inhibition of FXa activity. As no

                                                                          formal therapeutic drug levels or safety intervals have been established, the close relation

                                                                          between the inhibition of FXa activity and rivaroxaban concentrations measured by Biophen

                                                                          DiXaI may be used to propose an approximate threshold associated with bleeding risk.

                                                                                 In vitro, the values of PT showed slightly shorter and the values of APTT showed

                                                                          slightly longer than those values in vivo. Due to freezing and thawing before testing in vitro,

                                                                          the values of shortened PT and prolonged APTT may have been affected [21]. The limitation

                                                                          of this study is that only the inhibition of FXa activity was measured as the predictor for

                                                                          bleeding risk.

                                                                                 We conclude that Biophen DiXaI could be used as a quantitative method to monitor

                                                                          the anticoagulation activity of rivaroxaban. The rivaroxaban concentrations measured by

                                                                          Biophen DiXaI showed a close correlation with the inhibition of FXa activity, which could be

                                                                          used to propose an approximate threshold associated with bleeding risk. The PT reagent
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                                                                          (Thrombosis S) could be used as a rough method to monitor the anticoagulation activity of

                                                                          rivaroxaban and evaluate bleeding risk due to rivaroxaban. It is possible that the present

                                                                          results in patients treated with rivaroxaban be applied to other oral direct FX inhibitors

                                                                          (apixaban and edoxaban). It is the first time that this type of data has been reported in

                                                                          associated with the Chinese ethnic group. This work represents an advance in biomedical

                                                                          science because it shows that Biophen DiXaI not only could be used as quantitative method

                                                                          to assess the anticoagulation activity of rivaroxaban, but also could be used to evaluate the

                                                                          risk of bleeding caused by rivaroxaban.
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                                                                          Conflicts of interest

                                                                          There are no conflicts of interest.
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                                                                          Summary Table

                                                                          What is known about this subject:

                                                                             x   Rivaroxaban can be used without routine coagulation monitoring, but clinical
                                                                                 surveillance is recommended in several situations.
                                                                             x   The sensitivity of PT to assess the anticoagulation activity of rivaroxaban varies
                                                                                 depending on reagents and instruments used.
                                                                             x   Anti-factor Xa (FXa) chromogenic assays and PT assays associated with bleeding risk
                                                                                 are currently unknown.


                                                                          What this paper adds:

                                                                             x   The anti-FXa chromogenic assay (Biophen DiXaI) has a close correlation with the
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                                                                                 inhibition of FXa activity.
                                                                             x   The close relation between the inhibition of FXa activity and rivaroxaban
                                                                                 concentrations measured by Biophen DiXaI could be used to propose an approximate
                                                                                 threshold associated with bleeding risk.
                                                                             x   The PT reagent (Thrombosis S) could be used as a rough method to monitor the
                                                                                 rivaroxaban activity and evaluate the risk of bleeding.
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                                                                          Figures
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                                                                          Fig1: in vitro, the linear regression model fitted using the least square approach showed the

                                                                          relationship between measured concentrations by Biophen DiXaI and spiked concentrations.

                                                                          Biophen DiXaI, Biophen Direct Factor Xa Inhibitor.
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                                                                          Fig2: in vitro, the linear regression model fitted using the least square approach showed the

                                                                          relationship between rivaroxaban concentrations measured by Biophen DiXaI and PT (a)ࠊ

                                                                          PT ratio(b)ࠊAPTT(c) and APTT ratio(d), respectively. Scatter plot of TT (e) and FIB (f)

                                                                          versus rivaroxaban concentrations measured by Biophen DiXaI.

                                                                          Biophen DiXaI, Biophen Direct Factor Xa Inhibitor; PT, prothrombin time; PT ratios,

                                                                          prothrombin time versus the normal pooled plasma (NPP); APTT, activated partial

                                                                          thromboplastin time; APTT ratios, activated partial thromboplastin time versus NPP; TT,

                                                                          thrombin time; FIB, fibrinogen.
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                                                                          Fig3: in vivo, scatter plot of PT (a)ࠊPT ratio(b)ࠊAPTT(c) and APTT ratio(d) versus

                                                                          rivaroxaban concentrations measured by Biophen DiXaI.

                                                                          Biophen DiXaI, Biophen Direct Factor Xa Inhibitor; PT, prothrombin time; PT ratios,

                                                                          prothrombin time versus the normal pooled plasma (NPP); APTT, activated partial

                                                                          thromboplastin time; APTT ratios, activated partial thromboplastin time versus NPP.
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                                                                          Fig4: in vitro, the inhibition of FXa activity correlation with rivaroxaban concentrations

                                                                          measured by Biophen DiXaI (a) and PT (b).
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                                                                          FXa, factor Xa; Biophen DiXaI, Biophen Direct Factor Xa Inhibitor; PT, prothrombin time.
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                                                                          Fig5: in vivo, the inhibition of FXa activity correlation with rivaroxaban concentrations

                                                                          measured by Biophen DiXaI (a) and PT (b).

                                                                          FXa, factor Xa; Biophen DiXaI, Biophen Direct Factor Xa Inhibitor; PT, prothrombin time.
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